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 UNITED STATES DISTRICT COURT                             EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                        §
                                                §
versus                                          §          CASE NO. 1:15-CR-115
                                                §
BRANDON CHRISTOPHER PIERRE                      §


         ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

         The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal

Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty

Plea Before the United States Magistrate Judge. The magistrate judge recommended that the court

accept the Defendant’s guilty plea. He further recommended that the court adjudge the Defendant

guilty on Count One of the Indictment filed against the Defendant.

         The parties have not objected to the magistrate judge’s findings. The court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

agreement until after review of the presentence report.      It is further ORDERED that, in

accordance with the Defendant’s guilty plea and the magistrate judge’s findings and
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recommendation, the Defendant, Brandon Christopher Pierre is adjudged guilty of the charged

offense under Title 18, United States Code, Section 922(g)(8).



          Signed this date.
          Dec 23, 2015




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